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                                   IN THE UNITED STATES DISTRICT COURT
                                    R~iU~1'N OF MISSOURI
KEVIN WHITE,
    DEFENDANT,                            AUG 3 o2019              Case No.
v.
                                      BY MAIL
UNITED STATES OF AMERICA,
    PLAINTIFF,

                                    MOTION FOR LACK OF JURISDICTION

           Comes Now, Kevin White, herein as 'White' or Movant, a Pro Se litigant in the

above style-cause respectfully submitting his Motion, to vac.ate sentence for the

LACK OF JURISDICTION, based on the fact, where no Grand Jury was presented probable

cause to indict according to Due Process of Law, resulting in an illegal sentence

of White.        Furthermore,      where no        criminal      complaint    specifically against White,

presented to an Grand Jury, alleging any charges, elements or crimes against the

 nited States.         White's Motion for Lack of Jurisdiction is supported by 'actual'

facts. See Exhibit #1.

           Movant,    further    requests       this   Court evaluate his Pro          Se motion liberally,

as required by the Supreme Court ruling in Haines v. Kerner, 404 US 519, 92 S. Ct.

594;\ 30 L. Ed. 2d 652 (1972), where is held that a Pro Se litigant is held to a

less stringent standard than formal pleadings drafted by lawyers: If the Court can

reasonably read the pleading to state a claim on which the litigant could prevail,

it should do so despite a failure to cite proper legal authority,                                   confusion of

legal theories, poor syntax and sentence construction or litigant's unfamiliarity

with pleading requirements.

                                          -REASON TO VACATE SENTENCE
           On December     12,    2012,    the    District Court sentences Kevin White,                  to. a   188

months        imprisonment,      based     on    an    invalid     indictment.     Which   fails     on all      the

essential elements: First, the indictment presented to the District Court and the

Defendant was not                the indictment,         i f any,       that the Grand Jury approved. This

was        admitted   by   Prosecutor Kenneth , R.             Tihen,    admits   alteration   of    a   drafting

alleged indictment.             See (EHT) pg.         17. At no point did the Government present the

                                                           1
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actual true bill, if any exists from the Grand Jury.

     Second, the indictment presented does not contain the rules requirement of

signature by the attorney for the Government, Fed. R. Crim. P 7 (c) (1) (B), nor a

signature by a member of the Grand Jury. See 4:11-CR-00196.

     Third, it is the essential points these missing elements, where this sentence

is "illegal" in the sense that the Court goes beyond it's authority by acting

without Jurisdiction. Kevin White, Motion to Vacate Sentence is supported by the

record.

                                       FACTS

     Several Pre-Trial Motions were filed by White, and all were denied. See Pre-

Trial Motions filed by White.

      1. Motion to sever Doc. #234

      2. Motion for Disclosure and Inspection of Grand Jury Transcripts, Doc. #236

      3. Motion for Bill of Particulars Doc. #228

      4. Motion to Dismiss Indictment I Counts Doc. #229

      5. Motion to Suppress Evidence Doc. /1232

      6. See also, Evidentiary Hearing Transcripts Exhibit #1

     Do to the unprofessional representation by White's former attorney's, not

citing any case law in neither Pre-Trial motion, so that Prosecution, can advance

their case. White, also filed a §2241 §1651 Motion pursuant to 28 U.S.C., in the

Seventh Circuit, which the Government fails to respond to the allegations. See

Docket for Case #1:16-CV-01342-JES. The District Court denied Petition, saying no

Jurisdiction. Petitioner, in now working on his Writ before the Supreme Court, due

to the denial of his EN BANC in the Appellant Court, Case No. 18-1278.




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                                         REASON FOR GRANTING MOTION

      WHITE       contends,       primarily,             that   his      5th .A.l!lP.ndment     rights were violated

where    there      is    no     proof      of      an    indictment' being            returned    by     a    grand    jury

specifically bearing charges attributed to him. WHITE asserts that Prosecution

fraudulently        misled District Court by presenting alleged                                  frand jury findings

against WHITE           that were actually presented against his primary codefendants;

Viconto .iohnson and Quentin Thompson,                          thus violating Due Process, where there

was no probable cause to indict WHITE.

        At best,        it may be possible that a grand jury voted to 'present' charges

against WHITE, and an indictment was drafted by a member of the U.S. Attorney's

office of the 8th District at St. Louis, which was i:dgued by the jury foreman

without the Grand Jury as a body considering the case further.                                            Compare U.S.-

!::"'__f~!t~~     2013     U.S. Dist. LEXIS 180178 (8th Cir.), citing Gait~~r -v- U.S.;

413 F.2d 1061, 134 U.S.APP. D.C. 154 (D.C.Cir. 1969), where the indictment was

defective because the grand jury voted only to "present"                                         the defendants with

the   charge      of     grand    larceny,          but     did not        "pass    on    the    actual       terms    of an

indictment," which were drafted by                         the prosecutor and signed by the foreperson.

Id.     at Gaither, 107_!_.

        Unlike      Cotton,       WHITE          can       substantiate          suggestions        that       there     was

prosecutorial misconduct and due process issues showing a failure by all jurors

to vote      on    the     counts      of     the      indictment pertaining to him in his case.                          If

convened at all,           the prosecution in WHITE' s                      case,      specifically U.S.         Attorney

Kenneth R.        Tihen,       aided by his assistant,                    Attorney Tiffany G. Becker, misled

the Grand Jury on crucial matters of law,                                 and thereby improperly obtained an

indictment, resulting in prosecutorial misconduct. Prosecutorial misconduct can

result     in     the    reversal        of      conviction         if     (1)   the     prosecutor's         conduct    was

improper, and (2) the conduct prejudicially affected WHITE's substantial rights.

Cf.   U.S.      -v-Davis,        534   F.3d 903,914             (8th Cir.        2008).       Such conduct led to a

creative construction of the Indictment by                                Prosecution to present its own take

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on what it wanted to charge White with criminally.

      The 5th Amendment guarantees the right to be indicted by grand jury, and

its double jeopardy bar and 6th Amendment guarantee that a defendant be informed

of charges against him establishes no minimum requirements for an indictment:

      [An) Indictment adequately apprise[s) defendant of charges against him so
      that he can prepare his defense, and furthermore it must establish record
      that shows when defense of double jeopardy may be available to the defense
      in the event future proceedings are brought against him. U.S.C.A. Const.
      Amend. s, 6.


      The very purpose of the requirement that a man be indicted by grand jury

is to limit his jeopardy of offenses charged by a group of his fellow citizens

acting independantly of either prosecuting attorney or judge. This purpose is

defeated by a device or method which subjects the defendant to prosecution for

an act which the grand jury did not charge. Compare Stirone -v- U.S., 361 US

212, 80 S.Ct. 270, 4 L.Ed.2d 252, 253 (1960).

      WHITE's contention is based on information, or the lack thereof, of certain

points    of     Record.       Where in the Eighth District original indictments are not

accessible to the public, and providing one would violate Local Rule 6.1, D.N.D.

Crim.L.R,        WHITE       still     contends    the   Indictment   used    against   him   violated

F .R. Crim. P.       6 (c)   and 7 (c),   where the photocopy of       the original Indictment in

his   case     does      not    bear   the signiatures of      the Grand Jury foreperson,       or an

attorney       for     the     Government.    Compare U.S.     -V- Mariner,    2012 U.S.Dist.    LEXIS

180447 (8th Cir.).

      This point is significant because WHITE's photocopy bears the court clerk's

filing date stamp, which is not in original ink on the copy, yet WHITE's copy

does not bear any signiatures. To argue that the lack 9£ signiatures on a copy

does not mean the original does not have them would mean that the document could

be copied and filed without signiatures, only for the signiatures to be added

at a later, more convenient time. That is not in accordance with due process.

      As shown in Mariner,                supra,   Rule 6(c)   may not require the signiature of

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the foreman to appear on the copy of the Indictment placed in a public file,

but the copy should reflect the Indictment that was examined by the clerk prior

to    filing     and       found   to   have    been       signed.    'rd.   And,     more     egregious     to   such

argument,      there is no '/s/' on WHITE's photocopy of the Indictment to indicate

or    suggest        the     Indictment       was    electronically            filed,     thus      reflecting     the

foreperson had indeed signed the actual Indictment.

       And' what of Rule 7 (c), which provides the indictment "must be signed by

an    attorney        for    the   government,"?           Mariner,      Id.     Is     this   reason    alone     for

dismissal of the alleged indictment against WHITE?

       Though Mariner points out missing signiatures of                                 grand jury forepersons

and government attorneys would not render the indictment fatally defective nor

deprive a district court of jurisdiction (id.), there still is the question of

whether that theory is valid in WHITE's case, where the challenge is not towards

a defective indictment,                 but instead a lack of one. The question goes further

where no       entry        appears     on the Court's Docket prior to                    its clerk filing the

Indictment, for no 'complaint' existed towards WHITE prior to its filing.

       Mariner summarizes even if the indictment is missing both the foreperson

and the government attorney's signiatures it would not render the indictment

fatally defective nor deprive the district court of jurisdiction, but WHITE' s

argument differs considerably from Mariner's in that WHITE asserts there was

no initial indictment found by a grand jury against him.

       WHITE does not argue a defective indictment as found in U.S. -v- Cotton,

535 US 625, 629-31, 122 S.Ct. 1781,                        152 L.Ed.2d 860 (2002), where it was ruled

defects     in       indictments        are    not   jurisdictional            and    don't    affect    a   court's

jurisdiction to hear it. Nor is WHITE's argument like that found in Bank of Nova

Scotia! -v- U.S., 487 US 250, 254, 108 S.Ct. 2369, 101 L.Ed.2d 228 (1988), where

it    further       ruled     errors     in    grand       jury proceedings           generally      don't warrant

dismissal       of    indictments        unless      the    errors     prejudice        the defendant.       WHITE' s

argument       is    a     jurisdictional        question        in   the    sense      that   if   no   grand    jury

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determined probable cause to indict him there could be not indictment to proceed

further,       and he          should not     stand       convicted       of     a    crime.    And     Prosecution in

WHITE's case did not want to relent because, even though no evidence presentable

to    a    grand        jury   could     support    it,     they   felt        he     was a    part of Johnson and

Thompson's conspiracy.

          "Whether to prosecute and what charges to file or bring before a grand jury

are       decisions       that     generally rest          in the prosecutor's discretion." U.S. -v-

Blair,       2011       U.S.   DIST.     LEXIS     05745    (8th    Cir.) (internal            cite     and       quotations

omitted). However, the content of                     the charge, as well as the decis:i,on to charge

at all,       is    entirely up           to the Grand Jury -- subject to its popular veto, as

it were.          Cf.    Gaither -v- U.S.,          413 F. 2d 1061             (D. C.   Cir.    l 969)(internal cite

omitted).

          Where     no    probable     cause was       shown,      WHITE is of            the impression that no

indictment was returned against him, initially, yet it is obvious District Court

believed one was returned, as Prosecution wanted the Court to. WHITE impresses

upon the Court the fact that overlapping investigations over a six month period

failed to produce more than a circumstantial relationship between WHITE and his

alleged codefendants, yet Prosecution had no issue with pursuing an indictment

against him. Such conduct was unfair.

          What resulted was an amended indictment,                         for Prosecution felt WHITE was

not going to be held accountable for what they deemed him guilty of, and thus

provided       a    'Manner and Means of Conspiracy'                      segment       to     the Indictment in an

attempt to              circumvent the Grand Jury and make him 'as culpable' of the drug

enterprise          as    the aforementioned primary defendants,                         for whom the Indictment

was returned. This was unfair and inappropriate.

          WHITE's        contention      is   supported       by    the    Record,           where    at      a   pre-trial

evidentiary             probable    cause     hearing       [herein       as     Eventiary Hearing Transcript

(EHT.)]       WHITE's          defense     counsel     tried       to   determine            probable      cause,      while

Prosecution tried to advance their case further.                                     WHITE regards         the     testimony

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of Task Force Officer Lang, who ultimately admits several times the fact that

there wasn't enough probable cause evidence to proceed with indictment against

WHITE: Q. And you said in the affidavit that· you didn't have probable cause,
  at least as of March the 16th, to intercept or to -- to apply for the search
  warrant. Right? And that's why you needed the wiretap. [EHT.156, Ins.16-20].

  A. Based on the information I had,. I didn't believe I did.                          [ERT.156, In.20]

       Indeed,      Count   Four    only describes         by the Grand Jury the conspiratorial

intent t6 "conduct financial                   transactions" which "involved the proceeds of a

specified unlawful activity", for which.there was no probable cause to conclude.

Where there was two distinct investigations existing simultaneously within the

same     office,     "another      group"       compiled    its    own   information.         It     was    that

information         which    was    allegedly presented to a             Grand Jury,         because it was

Agent Stroop who allegedly appeared before a Grand Jury, not Officer Lang, who

was    the   head    co-agent      in    the    investigation of     WRITE.      And    it    was    Lang who

testified that Stroop' s           investigation was "unrelated", yet it seems they were

consolidated        once    the     Indictment      was     presented.     And    that       falls     on    the

responsibility of Prosecution,                 who ran the task of presenting their case to a

Grand Jury.

       It is the lack of probable cause which makes it unlikely that anything was

presented to a Grand Jury regarding WRITE, whereas it was seemingly enough to

present towards Thompson and Johnson. If in fact Tamecka Davis was courier for

Thompson     and    Johnson's organization,           she never stated under questioning that

WRITE told her he'd loaded money or drugs into the car, and nothing was alleged

to taken to Arizona. Compare ERT.156, In.25 to ERT.157, In.25]. Yet Prosecution

presented it in the Indictment as factual events that WRITE was alleged, by Ms.

Davis.    But it is important to note that Davis'                   'services'    as courier were not

indicated     as    'payment'      for    the vehicle,      U.S.    currency     was.    Yet       Prosecution

alleged to a Grand Jury that Davis 'worked' for WRITE, not the primaries of the

investigation or the Indictment.

       And therein lies           the question of the Indictment in relation to WRITE, or

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the validity of the Indictment as a whole.                     Only in exceptional circumstances

may   a     court     consider     a   challenge     to   an   indictment        in   a     post-conviction

proceeding       [Mariner,     supra],   but   it    seems     as   if     WHITE' s   circumstances     are

exceptional where no probable cause existed to indict.

      The Fifth Amendment to the U.S. Constitution and F.R.Crim.P 7(a)(l) require

that felonies be charged by grand jury indictment.                         The primary purpose of an

indictment are to inform the defendant of the                       charges he must defend against

and to allow the defendant to plead double jeopardy to any future prosecution.

U.S. -v- A11en, 406 F.3d 940,             946 (8th Cir. 2005); Mariner, supra. WHITE avers

the procedure used in his case to indict him was                          improper,       and a grand jury

might have found        differently had the correct procedure been used.

      A defendant has          a   right to have the facts            that make up           the essential

elements of         an offense decided by           a jury. Cf. Patterson -v- New York, 432 US

197, 210, 97 S.Ct. 2319,           53 L.Ed.2d 281 (1977).            "An       indictment     must   fairly

state all the essential elements of the offense if it is to be sufficient." U.S.

-v- Camp,      541 F.2d 737 (8th Cir. 1976).

      WHITE contends where there was no probable cause to arrest him there should

have been no probable cause before a grand jury                      to indict him. The indictment

in    WHITE' s      case was    not    returned      on the basis         of   evidence which . would've

arised from probable cause, and the Grand Jury portion of the Indictment does

not reflect the offense for which he was ultimately convicted. And for what was

charged, a true bill was not returned, resulting in jurisdictional error.                             Since

jurisdictional error implicates a court's power to adjudicate the matter before

it,   the    doctrine     of    procedural     default       does   not    apply.     Cf.    Louisvi11e   &

Nashvi11e Rai1road Co. -v- Mott1ey, 211 US 149,                     152, 29 S.Ct. 42,          53 L.Ed.126

(1908).     Jurisdictional error is by its nature of such "fundamental character"

as to render proceedings "irregular and invalid." U.S. -v- Morgan,                             346 US 502,

509 n.15, 74 S.Ct. 247, 98 L.Ed. 248 (1954).

      For an indictment to be a 'true bill' it would not only have to bear the

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signiatures          of    the   grand     jury foreman          and    government       attorney spoken of in

Mariner, supra, but it would also have to conform to Due Process requirements.

To be informed of the crime charged necessariiy includes notice of both conduct

forbidden and penalty prescribed. U.S. -v- Evans, 333 US 483, 485, 68 S.Ct.634,

92     L.Ed.     823       (1948).      Due Process     entitles movant to notice of a statute's

maximum punishment.              U.S. -v- Carrozza,             4 F.3d 70,        81    (1st Cir.      1993),      cert.

denied, 511 US             1069 (1994).

        WHITE's alleged Indictment gives                    a   general overall conspiracy count to all

defendants,         then charges each specifically in one of the remaining three counts

of a 4-count indictment. In subsection 'A.' of Conspiracy Count 1, it indicates

what the Grand Jury charges, which is basically a Title 21 U.S.C.                                          § 84l(a)(l)

violation,          alleging he conspired with "each other and other persons known and

unknown". In subsection 'B.' Prosecution tried to insert WHITE in the conspiracy

by      alleging          he   served    as   a   narcotics       distributor          and    coordinator     of    drug

transportation, but nothing at the Evidentiary                            Hearing indicated such actions.

The important part is subsection 'B.' does not indicate that it is the findings

of the Grand              Jury, and at the Evidentiary                 Hearing the first thing AUSA Becker

points     out       in    Lang's       examination    is       that    "we've    gone       the   extra    length    to

actually add a Manner and Means which is not required.," indicating specifically

that they were further defining WHITE's role. Compare EHT.17, Ins.5-10.

        First,       it is noted that in both counts for which WHITE was                                   charged, no

penalty        is     indicated.         This     violated        WHITE's        Due     Process      rights       where

"[a] lthough         it is not likely that a criminal will carefully consider the text

of the law before he murders or steals, it is reasonable that a fair warning

should be given to the world in language that the common world will understand,

of what the law intends to do                     if a certain line is passed.                 To make the warning

fair,    so far as possible the line should be clear." McBoyle                                     -v- U.S., 283 US

25,    75 L.Ed.        816 (1931); Planned Parenthood -v- Miller,                            860 F.Supp. 1409 (8th

Cir. 1994).

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       Further,     to permit a 'Manner and Means of the Conspiracy'                    to be added to

an indictment with elements that were not a part of                        the Grand Jury's charge

would be to allow the Grand Jury to indict                w~th     one crime in mind and allow the

U.S.    Attorney    to    prosecute by producing evidence of               a   different crime.       Such

impercision in a         grand jury indictment cannot be permitted, yet that is what

happened in WHITE's case.

       The - Fifth Amendment       requires    that a defendant be tried only on charges

handed down by a grand jury and,              thus~    after an indictment has been returned,

its charges may          not be broadened through amendment except by a grand jury. See

U.S. -v- Clemente,         22 F.3d 783 (8th Cir. 1994). Assuming,                 argumendo, that was

not    the point,    and that only a       self-authorized          'Manner and Means'         subsection

would suffice, this would forever exclude the use of elements found by a grand

jury     in   all   indictments,    for   there       would   be    no   reason    or   need    for    the

Government to burden itself with the use of Grand Jury alleged elements in an

indictment, just so long as a statute for the crime charged exist.

       The Government could then say to the Grand Jury, "John Doe is charged with

a drug distribution crime. The statute which governs this crime makes it a crime

against the United States. We, the People, request that this grand jury return

an indictment of Mr. Doe for the crime of drug distribution." This would, thus,

do away with the long established principle of our criminal justice· system that,

after an indictment is returned, its charges may not be broadened by amendment,

a principle that's withstood the test of time and should not be disputed here.

Compare Clemente, supra, and its predecessor, Es parte Bain,                        121 US 1, 7 S.Ct.

781 , 30      L.Ed. 849 (1887).

       White asserts the 'Manner and Means' aspect of the Indictment aided in what

could be conceived as a veriance as to what the Grand Jury may or may not have

determined, and what the Government indicated as charged facts. A fatal variance

denies    a defendant fundamental         guarantee because it destroys his right to be

on     Notice of the charge brought in the indictment.                   See U.S. -v-· Peterman, 841

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 .
F.2d 1474,1477 (10th Cir. 1988), cert. denied,                           488 US 1004, 109 S.Ct. 783, 102

L.Ed.2d 744 (1989).

        WHITE contends the 'Manner and Means' cYause was added by Prosecution once

it was realized that were                 'out of time' and about to be forced to return the

confiscated property which was seized after the raiding of his Nazareth Hills

residence.        That property was to be returned to him unless charges were filed,

which charges were filed, which charges were in the day it was to happen: May

19,    2011.     It was the day WHITE was arrested,                  though the Government knew there

was not enough           evidence to       charge WHITE with a drug distribution crime.

        If, indeed, there was an underlying conspiracy, like providing drug dealers

with the vehicles with concealed compartments, WHITE was not simply charged with

that.    The investigation was drug related,                       so the Government stayed with that

and presented their case as such, knowing WHITE was a prior felon who would run

too     great     a risk of going to trial with the vague concept of conspiracy to

defend from.

        Instead,     WHITE was theoretically coerced into a plea agreement,                                because

U.S.    Attorney     Tihen       threatened him with a             life sentence,              using priors under

Section      851    that    also    were     debatable        as    to    their      validity.      Surrounded    by

controversy,        the    previously-filed         information           related         to   those   priors   were

dismissed as a condition of WHITE's Plea, but he wasn't aware of the fact that

he would not have faced the enhancement anyway with a simple money laundering

charge,     for no evidence existed to convict him of an 841 drug offense. Had he

known,      WHITE may      not     have    accepted      the Plea,        knowing he did not distribute

drugs. But because no penalties appeared in each count of the Indictment, there

was    no   way    for    WHITE    to     know he   faced      options          as   to    his   trial,   plea,   or

punishment.

        The general rule is that a valid guilty plea waives all non-jurisdictional

defects.        Stated    differently,       a   valid    guilty         plea    forecloses       an attack· on a

conviction unless          "on the face of the record the court;: has no power to enter

                                                         11
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the conviction or impose the sentence." Walker -v- U.S., 115 F.3d 603, 604 (8th

Cir.     1997).    U.S.   -v- Beck,    250 F.3d 1163, 1166 (8th Cir.             2001). But the lack

of     an   indictment     or   failure     to   present   an ·indictment   in    accordance   to Due

Process cannot be considered a non-jurisdictional matter.

        Surely,     without     a   Grand    Jury   Indictment   specifically       alleging   in   its

charge the elements needed to prove the predicate crime against WHITE, a'Manner

and Means'        clause should be void, where a liberally construed indictment is not

11
     sufficient to identify the offense which the defendant conspired to commit. 11

U.S. -v- Werme, 502 US 1092 (1992); Wong Tai -v- U.S., 273 US 77, 81                           (1958).

Where the Fifth .Amendment provides the right to a grand jury indictment prior

to trial, it is quite possible in WHITE's case that the grand jury believed only

that he provided Ms.            Davis with the opportunity to purchase a vehicle with a

concealed compartment, which is not a crime.

        The Sixth .Amendment provides the right of an accused to be informed of the

nature of the charge against him, and the Indictment against WHITE fails in that

regard. The penalty is essential, yet it was not indicated sufficiently to put

WHITE on notice as to what he faces. It is the punishment prescribed which makes

an act a       crime,     not a mere interdiction of conduct without punishment. There

is no better illustration of this principle than the opinion in Evans, 333 US

483, supra, where it indicates penalties are a pre-requisite of Notice. IF the

Notice      requirement of the Due Process Clause is not                 satisfied,    the order is

void. Cf. In re Wholesale, 759 F.2d 1440, 1448 (9th Cir. 1985).                      Put   a   better

way, "[b]efore criminal liability may be imposed for violation of any penal law,

due     process    requires     'fair warning              of what the   law intends'. 11 U.S. -v-

Lanier, 520 US 259, 137 L.Ed.2d 432 (1997).

        WHITE' s   point of contention is           the Record show a lack of probable cause

great enough to question whether a Grand Jury issued an indictment against him,

and with the indictment that appeared before the Court there was evidence of

its deficiencies. There was concern as to such from the beginning, where at the

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Evidentiary Hearing the main objection of the Defense was that the Indictment

may have been flawed,            and that the Grand Jury proceedings were in question.

     WHITE' s Defense team was concerned about their client being connected to

other defendants even though no evidence existed to suggest otherwise,                                  hence

the Motion to         Sever,    and     they   stated        from    the   onset that they needed more

specifics. as to the charges, which were not clearly set out in the Indictment

or any related documents.             See EHT.13,           Ins.7-16,      and EHT.16,      Ins.7-25,   supra.

In fact,      in    their Motion to         Dismiss· Indictment,              the    Defense   team tried to

present     their     position     as     to   the      Indictment,         but     they   were   opposed   by

Prosecution, who should not have done so if its Indictment was valid.

     Prosecution opposed WHITE's Motion for Production and Inspection of Grand

Jury Transcript,        Recordings,       Minutes and Reports, and the Court granted their

opposition,        even though WHITE had a due process right of fundamental fairness

which was     violated once Court denied the challenge as                             to the discriminatory

selection of the Grand Jurors on the ground that it arbitrarily excluded members

of the African-American race as a due process of law. Cf. Peters -v- Kiff, 407

US 493,    507, 33 L.Ed.2d 83 (1972). See also the Motion to Dismiss Indictment.

(CD.f/229).

     Because        these    challenges     were      opposed,       WHITE,       in the final hour before

trial,    felt     coersion in accepting              the    Plea,    though        Prosecution knew    they'd

presented     a     flawed     indictment      that    would        not    have     been found    against   him

otherwise.       Prosecution used the threat of a Life sentence to force WHITE to

comply, knowing they had no grounds to base a Life sentence on. Had WHITE went

to trial there was a great possibility that he would not have been found guilty

of drug distribution, but as an ex-felon in an alleged conspiracy, the risk for

WHITE was to great, just as the Government calculated.

     In their rush to judgement, Prosecution violated several substantial rights

afforded WHITE. Motivated by the illegal search and seizure of his property,

based on a warrant admittedly sought without probable cause, Mr. Lang and Mr.

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Stroop put things in motion that USA Tihen pushed forward unfairly, securing

an    indictment that was not returned on the basis of                        evidence which would've

~risen    from probable cause of WHITE's own actions, unfairly charging him with

crimes actually directed towards others. If properly put before a grand jury,

WHITE's      role     in    the    alleged       conspiracy      was   no   more     than    innuendos        and

implications from the testimony                   of Mr.       Stroop to create bias and prejudice,

as    well -as damage to WHITE' s               character in the Grand Jury's             eye,   as well as

Prosecution's.



       Mr.   Tihen then took that opportunity,                    knowing that      evidence was lacking;,

but unwilling to back out of the forfeiture of WHITE's property, and proceeded

with its case, knowing District Court lacked jurisdiction to                              try WHITE because

the    Grand    Jury failed to return a                 true bill on the      charge against him.             Cf.

Worrall -v- Dormire, 2012 U.S.Dist. LEXIS 153489 (8th Cir.).

       But it is Judges Nace and Hamilton who allowed the case to proceed, knowing

that the Indictment and,                indeed,    jurisdiction itself,        was    in question by the

Defense.       "Every      federal      court     has    the     inherent   power    to     determine    as     a

preliminary matter its own subject matter jurisdiction." Gaines -v- Nelson (In

re Gaines),         932 F.2d 729,         731   (8th Cir. 1991). It was obvious from the Court

Docket that no complaint or information appears to preceed the Indictment, and

in fact no information was given until almost 5 months after the Indictment was

submitted       [7-NOV-11],        an     indictment      that    obviously    wasn't       based   on        the

investigation that led to. that information.

       With the threat of a Life sentence, WHITE had no choice but to plead out,

but the Government fraudulently presented its case to· get him to do so.                                      "To

constitute fear and coersion on a plea, [p]etitioner must show he was subjected

to threats or promises of illegitimate action. 11 U.S. -v- Goodman, 590 F. 2d 705,

711    (8th Cir.      1979),      cert.   denied,       440 US 985, 99 S.Ct.        1801, 60 L.Ed.2d 248

(1979) (internal quotation marks. omitted).

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        Prosecution's misconduct in WHITE' s case is evident in the fact that the

'Manner and Means'                section was inserted,            instead of      seeking further            charging

from the Grand Jury. It was further misconduc't; to present the case to the Court

knowing no grand jury passed a charge against WHITE. Prosecution's actions were

plain     error.      The plain error standard of review is designed                              to correct only

those errors that seriously affect the fairness, integrity or public reputation

of     judicial       proceedings,          and      under      such   standard    factors         to   consider      in

assessing        prejudice         include        the    cumulative       effect   of      any    misconduct,        the

strength       of      the properly admitted evidence,                    and any curative actions               taken

by the     Court.      CF.    U.S.       -v- Young,470 US 1, 15, 105 S.Ct.                  1038, 84      L.Ed.2d 1

(1985); U.S. -v- McClellan, 578 F.3d 846, 859 (8th Cir. 2009).

        But    in WHITE' s         case    there was no           curation    by     the    Court,      who    instead

allowed the case to proceed unchecked, knowing questions as to jurisdiction had

arisen.       The     lack of an indictment also affects                     personal jurisdiction,              and a

judgement        is    also       void    if   the      court     lacks   personal      jurisdiction          over   the

defendant,          which    is    likely what happened in this                instant.          See Printed Media

Services -v- Solna Web, Inc., 11 F.3d 838, 843 (8th Cir. 1993). District Court,

whether by lack of subject matter or in personam jurisdiction, should not have

preceeded with          convicting WHITE on the basis of                      the Indictment presented by

Prosecution.

        WHITE,      does not waive his rights to appeal Motion Criminal Rule 35 (a) in

14 days.

                                                        CONCLUSION
        For all the reasons stated above in the instant motion, motion shall be

for the Lack of Jurisdiction.




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..          I,   Kevin White,      declare   under    penalty    of perjury that I      have read and

     subscribe to the above, and state, that the information contained herein is true

     and correct to the best of my knowledge.


                                         Certificate of Service

            This is to certify that on         ftr.fj,   :;l...7-fh) bJ-OICf;         true and correct

     copies of the Ct. Criminal Rule 35(a) Motion, to Correct Sentence was deposited

     into    the mail   of   the    United   States    of   America,   at   Yankton   FPC,   SD.   57078

     prepaid, to the following:



     Clerk of Courts
     United States District Court
     Eastern Division Missouri
     111 S. 10th Street, RM. 3300
     St. Louis, Mo. 63102




      Date: August 27, 2019




                                                                Re~y~
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